Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 1 of 12




      CHAP. 55.]                 THIRD SESSION.

      for the sums so lent, and shall pay to the said Peter T. Curtenius, and
      the said person to be appointed a commissary to provide necessaries,
      severally, the monies so be taken on loan, in like manner as is herein
      before directed, with respect to the monies arising from the sales of for-
      feited estates. That the treasurer shall upon the warrant of the person Advances
      administring the government of this                                        said to persons
                                                State, advance as cash to astheafore-
                                                              commissary
      Peter T. Curtenius and the person to be appointed
      said, severally, of the said certificates to such amount as shall be speci-
      fied in each warrant, with blanks as to the date. That it shall be law-
      ful for the said Peter T. Curtenius, and the said person so to be ap-
      pointed commissary as aforesaid, to give the said certificates in payment
      for any goods wares and merchandizes wl.ich they may respectively
      purchase, and to fill up the blanks in the said certificates, with the day
      when they shall be respectively given in payment.
          And be it fur/ther enactedby the authorityaforesaid, That if any person Penalty
      shall forge or counterfeit any•I such loan office certificate, or shall sell, offering,
                                                                                      lorount-
      negotiate or assign over, or tender for, or in payment at the treasury, etc.
       any such forged or counterfeit certificate, knowing the same to be forged
       or counterfeit, the person so offending shall upon conviction suffer the
       like pains and penalties as in cases of felony without benefit of clergy.



                                  CHAP. 55.
      AN ACT for regulating the militia of the State of New York.
                                                    PASSED the Irth of March, 1780.

          WHERrAS the wisdom and experience of ages point out a well regu- Preamble.
       lated militia as 'Je only secure means for defending a State against ex-
       terral invasions, and internal commotions and insurrections.
          And whereas this, and the other United Svites of America, are now
       invaded by foreign enemies, and the safety of this State may be endan-
       gered by intestine commotions and insurrections.
          And whereas it is therefore become the duty of the legislature of this
       State, to put the militia thereof, on such an establishment as will most
       effectually encourage a martial spirit among the people, provide for tile
       internal and external security of the State, and enable it most vigor-
       ously to co-operate with the other United States, in a cause no less noble
       and exalted, than the defence of the common rights and liberties of
       America against hostile tyranny and oppression.
          I. Be it therefore enacted by the People of the S/ate of      York, repre-
                                                                                  tew Persons to
                                                                        au/hority of be en-
       sented in Senate and Assembly, and it is hereby enacted by the from   the en- rolled.
       the same, That every able bodied male person, (deserters
       emy, not subjects of any of the      United   States, Indians and  slaves ex-
        cepted) residing within this State, from sixteen years of age to fifty,
        (except such persons as are herein after excepted) shall immediately
       after the passing this act, unless he shall heretofore have been enrolled,
        be, by the captain, or in his absence, the next commanding officer, Qf the
        beat, wherein he shall reside, enrolled in the company of such beat. That
        every captain, or commanding officer of a company, shall also enroll every
        person, or persons, who shall from time to time arrive at the age of sixteen
        years, or come to reside or sojourn within his beat, and without delay,
        notify such enrollment to each person so enrolled, by some inferior offi-
        cer of the company; who, on oath, shall be a competent witness to prove
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 2 of 12




           238                                      LAWS OF NEW YORK.                   [CHIAP, 55.

           Disputos,
           1how to be such notice. That if any dispute shall arise with respect to the age, or
           declded.   ability to bear arms, of any person, it shall be determined by tile captain
                      or commanding officer of the company with right of appeal, to any per-
                      son who may conceive himself aggrieved, to the colonel, or commanding
                      officer of the regiment, whose determination in the case shall be final,
            Pqulp-    That every person so enrolled, and notified, shall within twenty days
            Jonlts,   thereafter, furnish and provide himself, at his own expence, with a good
                     musket or firelock, fit for service, a sufficrent bayonet (unless he shall be
                     provided with a good rifle) with a good belt, a pouch or cartouch box,
                     containing not less than sixteen cartridges, suited to the bore of the Mus.
                     ket or firelock, each cartiidge containing a proper quantity of powder
                     and ball, or in lieu of such pouch or cartouch box and cartridges, with
                     a quantity of powder and ball respectively, disposed of in a powder horn
                     and shot bag, and wadding equivalent to such cartridges, and two spare
                      flints, a blanket and a knapsack, and shall appear so armed, accoutred
                      and provided, when called out to exercise, or luty, as herein after di-
                     rected, except that when called out to exercisL only, he may appear
                     without blanket or knapsack; and if any such person shall appeair to the
                     captain or commanding officer of the company, to be too indigent to
                     arm accoutre and provide himself in manner aforesaid, he shall be fur-
                     nished with arms and accoutremcnts, out of the monies to arise from
                     the fines from time to time to accrue in the regiment to which he shall
                     belong, and in case of deficiency thereof, out of the public magazines
                     or stores of this State, by order of the person administring the govern-
                     ment of this State for the time being.
           Multla
           be ar- to     II. That the commander in chief, for the time being, shall, by general
           raned in orders, arrange the militia of this State into brigades regiments and
           brigades, companies, and, by and with the advice and consent of the council of
           etc.      appointment, appoint such and so many brigadiers general, and other
                        officers, as he shall think most conducive to the public service; copies of
                        such general orders to be filed in .the office of the clerk of the county
                        where the regiment, or company shall be.
           Brigade         III. That each brigadier general, shall have one brig,,de najor of his
           major.       own choice, to rank as major in the militia, and receive pay on the cer-
                        tificate o his brigadier.
          officers.     IV. That each regiment shall have and be commanded by one lieu-
                    tenant colonel, (except where a colonel has heretofore been appointed)
                    and one major, (unless in cases where it shall be thought necessary to
                    appoint two majors). That each company shall be officered with one
                    captain, one first lieutenant, one second lieutenant, and one ensign, as
                    commissioned officers, and by four sergeants, four corporals, one drum-
                    mer and one fifer; and the staff of each regiment shall be, one adju-
                    tant, and one quartermaster, who shall respectively rank as first lieuten-
                    ants; and tl'e sergeants, corporals drummers and fifers. ;iall be appointed
                    by the captains, or other commanding officers of the several companies;
                    and if any person so to be appointed, shall refuse to accept the office
                    to which he shall be appointed, he shall forfeit the sum of forty pounds,
                    to be adjudged, levied, and disposed of, in manner as is herein after
                    directed, with respect to fines for neglecting or refusing to appear to
                    train and exercise, as is herein after mentioned.
          'oiors       V. That each regiment shall be provided with a standard or colours,
                    at the expence of the field officers; and each company with a drum and
                    fife, at the expence of the commissioned officers thereof.
          Troops of    VI. Thit there may be a troop of horse in each brigade, and a com-
          horse.    pany of grenadiers in each regiment of foot, which may conveniently
                    furnish the same. That the said troops of horse, and companies of
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 3 of 12




      CHAP. 55.]                 THIRD SESSION.                                          239
       grenadiers, shall respectively be formed and composed of voluntiers, in
       the respective brigades and regiments, re,iding at such convenient dis-
       tances from each other, that they may with ease and dispatch be called
       out for training, discipline, or other service. Provided, that no troop of
       horse shall be established without the consent of the brigadier; and that
       no grenadier company shall be established in any regiment, without the
       consent of all the field officers; and that no troop of horse, or grenadier
       company, shall exceed :ifty men, officers included; and that no person
       shall hereafter inlist in any troop of horse, or grenadier company, with-
      out the consent of the commanding officer of the regiment in which he
      shall reside.
         VII. That on every such enlistment of a voluntier ; the captain of the Enlist.
      troop of horse, or company of grenadiers, do immediately certify to the inents        to
                                                                                    liO cert4-
      captain of the beat, from which such voluntier shallinlist, the inllstment fled.
      of the said voluntier.
         VIII. That each trooper shall be equipped and provided with a good Equip-.
      servicable horse, at least fourteen hands high, a good saddle,       housing, niettsof
                breast  plate  and crupp~er, a case of good plstols, a good, horse- opers.
      holsters,
      man's, sword, a pair of boots and spurs, and a carbine well fixed with a
      good belt swivel and bucket, and a cartridge box to contain twelve
      cartridges at least; and that each grenadier, shall be equipped and pro-
      vided with a grenadier's cap, a good musket and bayonet, a broad
      sword, a belt and a pouch or cartridge box; and so equipped: and pro-
      vided, the troopers and grenadiers, shall, respectively, be called out under
      the direction of their respective officers, as is hereby required, with re-
      spect to the rest of the militia.
         IX. That each colonel or commanding officer of a regiment, shall, in Reglmeut-
      the first or second week in April, and in the first or second week in ' Irrades.
      November, in every year, call out his regiment to his regimental parade,
      which shall be the place in the district of the regiment the most con-
      venient for that purpose; and having paraded the same, shall require
      from the captain or commanding officer of every beat, in the regiment, a
      return thereof, expressing the exempts and the absentees, and tile causes
      of the respective exemptions and absences; cause the said regiment, ex-
      cept the exempts, thus paraded to be called by the company rolls, and
      the arms ammunition and accoutrements of each man to be examined,
      and the defaulters to be noted; and shall cause them to be sufficiently
      exercised, trained and disciplined, for their instruction and improvement;
      and shall within two weeks thereafter, make or cause a true regimental
      return (excepting therein by name the exempts or absentees) to be made
      to the commander in chief, for the time being; until a brigadier general
      be appointed to the brigade to which the regiment shall belong. That
      the captain, or commanding officer of each company, shall and may call
      out his company to such place, within his beat, as shall be most con-
      venient for that purpose, at least four times in every year, and shall cause
      them when so called out, to be well and sufficiently exercised trained
      and disciplined for their instruction and improvement.
         X. That every commissioned officer of the militia, in this State, who Offraors
      shall omit or neglect to perform any of the duties, by this act enjoined on terform
      him, of enrolling training or disciplining in and to the use of arms, the dutlies
                                                                                    pored in-
                                                                                            b,
      militia of this State, or making perfect returns of the militia, or not call- thIs act to
      ing out to actual service the militia, or any part thereof, when necessary, be court
      and shall, if under the rank of a brigadier, be thereof convicted by a
      brigade court martial from the brigade to which he shall belong, consist-
      Ing of at least thirteen members, (which court martial the brigadier is
      hereby author; zed and required to appoint, and direct to sit) and the sen-
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 4 of 12




         240                                LAWS OF NEW YORK.                       [CHAP.   55.

                      tence thereon be confirmed in manner herein after mentioned, be, ipso
                    facto, removed from his office, and reduced to do duty in the ranks as a
                     foot soldier; any exemption from duty to the contrary in any wise not-
                     withstanding.
         Meeting of     XI. That the brigadier general, and the field officers of each brigade,
         general
         and field shall, on the second Tuesday in January and the second Tuesday in
         review set. June yearly and every year, meet together, at such town or place within
         tences.     the brigade as the brigadier general shall appoint; to which meeting
                     all sentences of courts martial in such brigade, not before confirmed or
                     disallowed, shall be brought, and shall by the said brigadier general, or
                     next commanding officer, and field officers, or the majority of them, be
                     respectively confirmed or dioallowed; upon determining all which the
                     brigadier, or next commanding officer, shall sit as president; and shall
                     immediately thereafter, particularly, report, under his hand, to the com-
                     mander in chief all such sentences as shall be so confirmed; and all
                     brigadiers general, for offences, not particularly provided for in this
                     act, shall be tried by a general court martial, to be appointed by the
                     commander in chief, and if on conviction, the sentence thereof be con.
                     firmed by such commander in chief, that upon such brigadier general
                     shall be removed from his office. That all sentences of courts martial
                     so confirmed shall be, by the commander in chief from time to time,
                     laid before the council of appointment, to the end, that they may ap-
                     point others instead of the officers so found guilty.
        Cashiered
        and  re.        XII. That every commissioned officer of the militia of this State who
        slaned       shall be cashiered, or who shall resign his commission, unless with the
        doffcersto consent of the council of appointment, shall be obliged to do the duty
        foot sol. of and in every respect be put on a footing with a private soldier, any
        diers.       thing contained in this act, tq the contrary thereof notwithstanding.
        Foot            XIII. That every foot soldier of the said militia who shall neglect to
        soldiers,
        penalty for  appear  when called out, withcut sufficient excuse, shall for, every such
        not ap-     offence forfeit the sum of eight pounds; and if he shall appear want-
        pearing. ing any of his arms, ammunition or accoutrements,
                                                                            prescribed for him
                    by this act, without sufficient excuse, he shall, for every deficiency, for-
                    feit the sum of three pounds; and if any non-commissioned officer or
                    private in any troop of horse shall be charged with either of the said
                    offences, and shall not have sufficient excuse, he shall forfeit for the
                    offence of not appearing the sum of sixteen pounds, and for ever), other
                    of the said offences the sum of six pounds.
        Fines, eta.     XIV. That all fines to arise from offences, in a company only, shall
                    be adjudged of and inflicted by the commissioned officers of such coin-
                    pany, and shall be levied with costs by warrant under the hand and seal
                    of the captain or commanding officer, directed to one or more of the
                    sergeants of the said company, by distress and sale of the goods and chat-
                    tels of the offender, and paid by the sergeant or sergeants to the said
                    captain or commanding officer of the company; And that all fines to
                    arise from the like offences upon the calling out of the regiment, shall
                    be adjudged of and inflicted by the field officers of the regiment, or the
                    major part of them and shall be levied with costs by warrant, under the
                    hand and seal of the colonel or commanding officer of the regiment,
                    directed to one or more of the serjeants of the said regiment, by distress
                    and sale of the goods and chattels of the offenders respectively, and by
                    him or them paid to the said colonel or commanding officer; all which
                    fines shall by him be paid over to the quarter master of the said regi-
                    ment, to be by him laid out under the direction of the field officers of
                    the said regiment for arming accoutring and furnishing with ammuni-
                    tion the privates thereof in manner aforesaid. And where in any case
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 5 of 12




      CIAI'. 55.J              I HIRD SESSION.                                       241
       no goods or chattels shall be found, then on such warrants, to be issued
       in either of the cases above mentioned, the serjeant or serjeants shall
       take the body of the offender and him convey to the common goal of
       the county, there to be kept in safe custody, until he pay the said fine
       and costs. And the goaler is hereby requircd and commanded to receive
      such offender, with the warrant, and him safely to keep until he shall
      have paid his said fine and costs, which goaler after receiving the same,
      on demand by such serjeant or serjeants, pay the same to him or them,
      and thereupon such fine shall be disposed of in manner herein before
      directed for the disposal of fines.
         XIV. That all officers in the militia shall take rank according to the Rank.
      dates of their commissions. Provided that where officers now hold the
      same offices in the militia which they held under the late government
      before the revolution or under the convenAion before the organization
      of the present government and have since taken out new commissions
      for the same office such officers shall take rank from the dates of their
      former, and not from the dates of their last commissions, any thing
      herein contained notwithstanding.
         XV. That from all returns to be made by the colonels or command- Returns.
      ing officers of regiments, respectively, to the respective brigadiers gen-
      eral, brigade returns shall without delay be made to the commander in
      chief.
         XVI. That one brigade, regiment, or company of foot (except Hlow com-
      grenadiers who shall form on the right of the regiment) shall not be con- Panic",
      sidered as older than, or having rank or preference of, the other, but posted,
      each brigade, regiment or company shall be posted and disposed of in c.
      the line on command, a the commanding officer on the spot, shall on
      every occasion or emergency think proper.
         XVII. That on every emergency of a sudden invasion by the enemy, mllltla to
      or insurrection, within this State, the commanding officer of any brigade, becalled
      regiment, or company, as the cases may require, shall immedeately draw cases of
      out the militia under his command and with them oppose the enemy or emergency.
      the insurgents, and that all brigades, regiments, troops and companies,
      shall from time to time be subject to general, brigade, regimental, and
      company, orders, as is usual according to the course and practice of war
      for suddenly taking the field for the purpose aforesaid. And all such
      orders, by any officer under the rank of commander in chief, shall be
      reported ii writing by express, to the commander in chief for the time
      being, and also to the colonel or commanding officer of the regiment,
      if given by one under his command, and if given by the colonel or com-
      manding officer of the regiment, shall be reported to the brigadier gen-
      eral, and if given by the brigadier general to the commander in chief,
      all which reports shall be acted upon by the respective persons to whom
      the same shall respectively be made as the emergency may require, and
     by such persons respectively be reported, with their respective doings
      thereon, to their next superior officer, and so on in succession till they
     reach the commander in chief.
         XVIII. That every person in the militia, whether officer or private, omcers
     when called out into actual service, either to act separately or in con- vates
                                                                                 and pri-
     junction with the troops of the United States of America, shall from the called Into
     time of his receiving due notice thereof from his commanding officer, actual ser.
     until he be properly discharged from that service, if and as long as he Ject to
     shall perform the same, and untill properly discharged'or dismissed, be ruiles nof
     allowed pay, subsistence and rations, according to the Continental estab- war.
     lishment, and on every neglect or refusal to march, after such notice as
     aforesaid, shall be dealt with as a deserter, or having marched out, on
                   31
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 6 of 12




           242                                LAWS OF NEW YORK.                         [CHAP. 55.

                    such notice, and before his proper discharge or dismission, shall commit
                    any offence, or shall, before such discharge or dismission, desert from
                    the corps to which he shall belong, or from his post, shall for every such
                        offence be subject to the rules and articles of war, established by the con-
                        gress of the United States of America, for the better government of the
                        troops in the service of the said United States; which shall be put in
                        execution against the offender by the militia orders and authority, in
                        like manner as the same are put in execution in the army of the said
                        United States against offenders therein, by proper orders and authority
                        thereof ; and that in all such cases the governor or commander in chief
                        for the time being, and all militia officers subordinate to him, shall and
                        may enjoy and exercise all the powers by the said rules and articles of
                        war, given to the commander in chief of the army of the United States
                        and the several officers subordinate to him in the said army; and that
                        upon notice left at the usual place of abode of any offender, containing
                        the charge against him, and the time and place when and where the
                        court martial will be held for his trial, and due proof made to such court
                        of the service of such notice, it shall be lawful for such court to proceed
                        to the trial of such offender in like manner as if he had appeared, and
                        plead not guilty to the charge.
          In case of       XIX. That in every case where a fine shall be imposed by a court
          fnes of-
          fender        martial, in consequence of this act it shall and may be lawful for such
          may be        court martial to direct the offender (in case of the non payment of such
          tooserve In fine) to serve in, and do duty with, any one of the regiments of the army
          army.         of the United States of America raised by the direction and under the
                        authority of this State, as a private soldier thereof, for and during such
                        time as the court martial shall adjudge, not exceeding six months.
          Powerto
          order  out       XX. That the commander in chief for the time being shall have
          enrolled      power and authority, from time to time in his discretion, to order out the
          militia, ete. wlule or any part of the associated exempts and enrolled militia of this
                        State into actual service, not only for the defence of thi§ State, but to
                        give assistance to any other of the United States, or to reinforce the
                        army of the United States or any part thereof, and that the associated
                        exempts shall be called out, in rotation, so as to do their equal propor-
                        tion of duty with the enrolled militia, as nearly as may be, in the dis-
                        cretion of the commander in chief, orbrigadier general witiiin whose com-
                        mand the said associated exempts do reside, and to cause each of them
                        to march out of this State for either of the said purposes., Provided
                        always that none of the enrolled militia of this State or associated ex-
                        empts shall be compelled to do duty out of the same for a greater space of
                        time than forty days at any one time; and provided also that not more
                        than one third part of the militia and associated exempts of this
                        State shall, on any occasion or emergency, be required or ordered
                        to march out of this State, any thing herein contained to the contrary
                        thereof in any wise notwithstanding.
          Courts           XXI. That for the several purposes aforesaid general, brigade and
           martial,     regimental, courts martial and courts of inquiry shall from time to time,
                        as cases may require, be instituted and formed, and general brigade
                        and regimental orders from time to time given, upon the plan directed
                        by the aforesaid rules and articles of war, and by the officers in rank
                        respectively in the militia equal with those respectively authorized for
                        the purpose by the said articles of war, in respect whereof the governor
                        or commander in chief and all militia officers respectively shall be con-
                        sidered as on the same footing as the general ad commander in chief
                        of, and as the officers in their respective ranks belonging to, the army of
                        the said United States; Provided always that no commissioned military
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 7 of 12




     CHAP. 55.]                THIRD SESSION.                                          243
     officer, except when questioned upon the aforesaid rules and articles of
     war, shall be sentenced or adjudged to any other punishment than to
     be broke and rendered incapable of any military office. whatsoever
     within this State; and provided also that it shall and may be lawful
     for a court martial, whenever they shall conceive it proper, to fix and
     determine a fine for which any person, adjudged to receive corporal
     punishment, may commute such punishment; and if the said fine shall
     be paid, within the time by the court martial for that purpose limitted,
     the said person shall be accordingly acquitted of such corporal punish-
     ment. That all such lines shall be paid into the hands of the eldest
     militia officer, from this State, on the spot, and shall by him be paid
     into the hands of the officer commanding such regiment, for the purpose
     of providing a sufficient quantity of arms and ammunition for the use of
     the said regiment, and that the overplus be paid by the said command-
     ing officer into the treasury of tle State.
         XXII. That . roll of the privates of each company shall be made, Privates
     and divided, by the captain or commanding9 officer of the company, into of      each
                                                                                  company
     eight classes, as nearly equal in number to each other as conveniently to be
     may be, and a serjeant or a corporal shall be allotted on the roll, by the divided
     captain or commanding officer, to each class; which said eight classes, in classes.
     each company, shall on detachments or drafts, in pursuance of this act,
     perform their tour of duty in numerical order; and to ascertain which
     class shall take the first and which the second tour of duty on detach-
     ment, and so on to the eighth class, eight slips of paper, numbered re-
     spectively fiom one to eight inclusively, shull be so rolled up, or other-
     wise closed as to conceal the number, and being put into a hat, box, or
     vessel, and well shook together in the same, the serjeant or corporal of
     each class shall, in the order to be directed by the captain or command-
     ing officer, in behalf of his class, take out one of the ballots; and the
     number drawn by the serjeants and corporals, respectively, shall deter-
     mine their respective tours of duty of the several classes; The class
     which draws number one to have the first tour of duty, and so on in
     numerical order throughout all the eight classes, determining their re-
     spective tours of duty; and in the same numerical order shall tle eight
     classes continue their rotation without any new ballotting, untill the
     numbers respectively contained in each class shall, by the events of war
     or other accidents, become very unequal, when there shall be a new bal-
     lotting as above directed.
         XXIII. That when and as often as the classes shall be thus fixed, Roll of
     each captain or commanding officer of each company shall form a roll classes.
     consisting of the eight classes and containing the names of the men in
     each class, with the names of the serjeant and corporal respectively
     prefixed to each class, and numbered according to the order of ballot-
      ting, which he shall keep for his own use, guidance, and direction, and
     shall notify each serjeant, corporal, or private, to what class he shall be-
     long, and shall return a copy thereof, with the list of his commissioned
      officers prefixed thereto, without delay, to the colonel or commanding
      officer of the regiment, who shall enter all such, and every other com-
      pany return, in a book to be kept by him for the purpose.
         XXIV. That the colonel or next commanding officer of the regiment Tours or
      shall, on receipt of all the classed returns of the companies in his regi- dutv   of
                                                                                   commls-
      ment, convene together all the commissioned officers in his regiment, sinned
      and proceed in like manner to fix by ballot the respective tours of duty officers.
      of all commissioned officers under the rank and degree of a field officer,
      from and including number one to and including such number as shall
      be equal to the number of companies in the regiment; which ballotting
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 8 of 12




           244                                LAWS OF NEW YORK.                        [CHAP. 55.

                       shall be made separately and severally in the four several lines of office,
                       and be entered by the colonel or commanding officer in his said book,
                       as also the quota of each detachment both as to officers and privates,
                       in order thereby, from time to time, to ascertain the rotation of the
                       service of both, which shall ever be determined by such quotas respec.
                       tively.
           Majors,
          Ott) , to       XXV. That if there be two majors belonging to a regiment they
          decido       shall decide by lot which of them shall take the first tour of duty, and the
          tour
          lot. by      order or tour of duty thereby established shall ever after govern.
                          XXVI. That to establish the rotation of duty, on detachments, among
                       the several field officers in the regiments composing a brigade, the
                       colonels, lieutenant colonels, and'majors, shall without delay meet to-
                       gether and decide the same by several and separate lots in numerical
                       order as aforesaid, in the several lines of office, which being done, a roll
                       thereof shall immediately be made and subscribed by them all, and re-
                       turned to the brigadier general of the brigade
          Brigadier
            eneral to     XXVII, That to a brigadier general's command of detachments the
          toe a.       commander in chief shall appoint such brigadier general as shall in his
          i,olnted to judgment appear most proper for advancement of the service.
          command.
          Substl-         XXVIII. That every private shall be allowed to substitute, on detach-
          tutes.      ments, an able bodied private in his stead, who shall nevertheless take
                      his own tour of duty in the order wherein it shall have been fixed as
          In case of aforesaid. That in case, by sickness or unavoidable accident an officer
          etc..next or private shall be prevented from taking his tour of duty on any de-
          on roll to tachment, the next to him on the respective rolls of detachment, without
          IpOrform
          tour of     regard to classes with respect to privates, shall fill his place, and the
          duty.       person so prevented shall in return take the proper next tour of duty
                      on detachment of him so filling his place ; and all classings as aforesaid
                      shall go on in rotation in the several numerical orders above mentioned
                      as long and as often as the public service shall require the same. Pro-
                      vided always that the commander in chief shall and may,. from time to
                      time, in his discretion, order out on detachment as great a part of any
                      brigade, regiment, troop of horse, or associated exempts, or the whole
                      militia into actual service, and also that the like discretionary power
                      may, on sudden emergencies, and without waiting for the order of his
                      superior officer, be exercised by the commanding officer of any brigade,
                      regiment, troop of horse, or company, respectively, over each brigade,
                      regiment, troop of horse, or company, giving notice thereof, in writing,
                      without delay together with all things relating thereto as well to his
                      commanding officer as to the commander in chief for the time being.
           Izxempt        XXIX. That all persons, under the age of sixty years, who have held
          persons.    civil or military commissions, and are not or shall not be re-appointed to
                      their respective proper ranks of office; and all other persons, between the
                      age of fifty and sixty years, who have associated and elected their offi-
                      cers, or shall hereafter associate themselves, shall be exempted from
                      serving as part of the enrolled militia. That all such persons, who have
                      not yet associated, shall form themselves into voluntary associated regi-
                      ments, or coml)anies, according to their number in each respective
                      county, and recommend their own officers, and that all such associated
                      regiments, or companies, shall make returns thereof respectively to the
                      commander in chief for the time being, without delay, who with the ad-
                      vice of the council of appointment shall issue commissions to them ac-
                      cordingly in default of which returns, they shall respectivel X do duty in
                      the ranks with the militia, of the beat within which they shall respec-
                      tively reside, until they shall respectively associate as aforesaid. That
                      the substance of such associations shall be, that the associators will sev-
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 9 of 12



    CUAP. 55']                 THIRD SESSION.                                           245
    crally on all occasions, obey the orders of their respective commanding
    officers, and will in cases of invasion or incursions of the enemy, or in-
    surrections, march to repel the enemy or suppress such insurrections, in
    like manner as the enrolled militia are compelled to do, sb that they
    shall not, when called out in detachments, be annexed to any other
    regiment, or company, or be under the immediate command of any other
    than their own officers, but be deemed and considered as a seperate and
    distinct corps, and that when such associated exempts shall be called
    into actual service they shall be subject to the orders and command of
    any and every officer of superior rank to such officer of associated ex-
    empts.
       XXX. That every person, an inhabitant of this State, subject by this In cea of
    act to military duty in the militia, who shall remove out of the limits of retrnoval
    the regiment or corps in which he shall be commissioned, associated, or liable to
    enrolled, and sojourn, or be within the limits of any other regiment, or draft.
    corps, shall be subject to drafts, and be obliged to do duty in the regi-
    ment, or corps, within the limits of which he shall so happen to be, in-
    less he shall give a satisfactory account to the commanding officer of
    the said regiment, or company, that he has not absconded from the corps
    to which he belong's in order to avoid being drafted or perform;ng other
    military duty.
       XXXI. That the lieutenant governor, members of the senate and oimers,
    assembly, and their several clerks, and all judicial officers, the secretary etc.,imlt
                                                                                       ex-
                                                                                         from
    of this State and two of his deputies, the treasurer, the auditor general, tralhimg.
    and the attorney general of this State, the clerks and register of courts
    and the county clerks, and sheriffs and their respective deputies not ex-
    ceeding one, and the.coroners not commissioned in the militia, all
    county treasurers and all ministers of the gospel, and all physicians and
    surgeons except in their several and respective professions, and callings,
    all public school masters actually engaged for twelve months, all collec-
    tors, all ferry men licenced by the governor or commander in chief for
    the time being, all post masters, and post riders shall notwithstanding
    their being respectively able bodied, above sixteen and under sixty
    years of ago, tnd all such persons in the service or employ of the United
    States, or of this State, or engaged or employed in any manufacture or
    business, so that it would be for the good of the public that they should
    be exempted, who shall procure special exemptions from the commander
    in chief of the militia of this State for the time being, under his hand,
    shall respectively be exempted from training and doing duty in the
    militia, but shall nevertheless be armed accoutred and provided as
    above mentioned.
       XXXII. That all those male persons, between the ages of sixteen and Quakers
    sixty years, who are or shall be of the people called Quakers, upon pro- oxenipt
                                                                                  Wilt liable
    ducing a certificate from one of their quarterly meetings that he or they to tax.
    is or are of the society called Quakers, shall be exempted from all
    military service whatsoever, to which they would respectively be subject
    by this act, were they not respectively of the people called Quakers: And
    for such exemption, shall yearly and every year, severally pay the sum
    of eighty pounds, in lieu of all military service whatsoever, required by
    this act, except services on detachments and calling out the militia
    for actual service by virtue of this act in which cases each of them
    shall annually pay the sum of one hundred and sixty pounds. And
     for the purpose of levying the said annual sums, tie captain or
    commanding officer of every beat, shall annually return to the re-
    spective supervisors of the ward, town, manor, precinct or district,
    wherein he shall reside, a list of such Quakers as aforesaid, residing
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 10 of 12




             246                                LAWS OF NEW YORK.                         [CHAP. 55.

                          within his beat; and the respective supervisors of the county, at either of
                          their meetings, shall make out a seperate tax list thereon, with a war-
                          rant to 1e issued by them to the collectors respectively for levying the
                          same, of the form, as near as may be agreeable to the form of the war-
                          rants to collect the taxes for defraying the contingent expences of the
                          county, and in default of goods and chattles of any Quaker, whereon to
                          levy the said sum or sums, the warrant for levying the same shall au-
                          thorize the collector to commit him to the gaol of tile county, and tile
                          keeper of the said gaol, is hereby required to receive and detain him in
                          safe and close custody, until the said sum or sums shall be paid to tile
                          said collector, and the said collector; shall respectively pay the monies
                          they shall so from time to time collect, into the county treasury, from
                          whence they shall be paid by the several county treasurers into the
                          treasury of this State.
             Act not to      XXXIII. That this act, or any thing in the same contained, shall not
             affect per-
             sonswo in cases of drafts or detachments of the militia, affect an), person, who
             havefuro has furnished a sufficient able bodied man for service in one of the five
             nilabed
             substitutes Continental battalions raised under the direction of this State, pursuant
                          to law, unless tile time of such service shall have expired.
             Notice,         XXXIV. That in all cases where notice is required by this act, verbal
             doomed       notice to the party himsel, or left at his usual place of abode, with a per-
             suflicient. son of the years of discreticn, by any commissioned or non commissioned
                          officer of the company, shal be deemed a legal and sufficient notice.
                             Ifhereas the militia officeors are frequently put to great expence in
                          attending general and regimcntal courts martial, and courts of enquiry.
             Expenses
             of officers     XXXV. Be it therfore enacted by the authority aforesaid, That the
             attending same shall respectively be ascertained from time to time, by the presi-
             mrtito dent of such courts respectively, and be paid from time to time, out of
            bgaid out the fines arising from each regiment, or corps of exempts, and which are
              t e.        )y this act required to be paid, to the commanding officer ofthe regi-
                         ment, to be by him applied as aforesaid, and such certificates shall re-
                         spectively be delivered, from time xo time, by the respective officers enti-
                         tled to receive the several fines imrposed by this act, to the commanding
                         officer of the regiment, together with the remaining balance of such fines,
                         that every such officer so receiving such fines respectively, as by this act
                         are made payable as aforesaid, shall, from time to time, as the same shall
                         accrue and be received, account for and pay the same to the said com-
                         manding officer, in manner aforesaid, at the expiration of every three
                         months, to commence thirty days after the passing of this act. That the
                         respective colonels or commanding offictrs of regiments shall account
                         under oath for the expenditures and application of the said fines, at, and
                         to, the meeting of field officers by this act, directed to convene in Janu-
                         ary and June in every year, and that the ballance be paid into the treas-
                         ury of the State.
            Oficerato       XXXVI. Andwhereas the commanding ofl*cers of brigades and regi-
            he reim-
            bursed       merits are frequently on extraordinary emergencies, obliged to disburse
            moneys       of their own monies for paying expresses, for reimbursement thereof,
            expended. the treasurer of this State shall, and is hereby required, from time to
                      time, to repay the same out of any monies in the treasury, Provided
                      that the accounts thereof repectively shall be first sworn to before a
                      justice of the peace of any county within this State.
           Ammuni-       XXXVII. Be it further enacted by the authority aforesaid, That the
           tion to be
           furnihed. commissioner of military stores, of this State, shall or, application of any
                      or either of the colonels or commanding officers of regiments of the
                      militia of this State, by a draft in writing on the said commissioner, in
                      favor of the quarter master of the regiment, with a warrant endorsed
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 11 of 12



      CHAP. 55.]               THIRD SESSION.                                        247
      from the person administring the government of this State for the
      time being, furnish such quarter master, or quarter masters, with such
      quantities either of loose ammunition, or made up in cartridges, for the
      said regiment or regiments, as shall be directed by the said warrant, the
      said quarter master or quarter masters paying for the same, the first cost
      thereof, and the expence of making up the same, which monies the said
      commissioner shall from time to time lay out again, in the purchase of
      ammunition.
         XXXVIII. And be it fur/her enacted by the authority aforesaid, That if Wounded
      any person be wounded or disabled upon assisting in repelling any inva- Persons
      sion or an incursion of the enemy, or suppressing an insurrection, or any subsisted,
      other legal military service, he shall be subsisted and provided for at eto.
      the expence of the State, during such dsability, exept such persons
      whose cases are already provided for by the several acts of the congress
      of the United States of America, making provision for persons that
      may become disabled while in the service of the United States. That
      each person who hath been, or shall hereafter be so wounded or disabled,
      and whose cases shall not be provided for as aforesaid, shall be entitled
      to such partial or permanent allowance, as shall be adjudged by the
      field officers of the regiment (not exceeding the allowances granted by
      the acts of congress aforesaid) and which adjudication, being confirmed
      by the commander in chief for the time being, he shall thereupon issue
      duplicate warrants under the privy seal of the State, upon the treasury
      for the payment of the sum or sums so to be adjudged to the person so
      wounded or disabled; and the treasurer upon being served with one of
      the said duplicates, shall out of any monies which may then be in the
      treasury, pay to the several persons in whose favor such warrants shall
      be issued, the sum or sums to be specified, and in such manner as shall
      be directed by the said warrants respectively.
          XXXIX. And be il firther enacted by the authoritya.oresaid, That the Acts con-
      act now in force, entitled, "An act for regulating the militia of the State oforce.in
      New York," passed on the third day of April one thousand seven hun-
      dred and seventy eight, the act entitled "An act, to amend an act,
      entitled An act, for regulating the militia of the State of New York "
      passed the thirtieth day of June one thousand seven and seventy eight,
      and the act, entitled "An act, farther to amend an act, entitled An act,
       for regulating the militia of the State of New York, and other purposes
       therein mentioned," passed the ninth day of October, one thousand
       seven hundred and seventy nine, shall be, and are hereby respectively
       continued in full force, until the third day of April next, any thing con-
       tained in in this act notwithstanding.
          And wihereas the proceedings of sundry courts martial, are not fully
       compleated, as also many delinquents not yet tried.
          XL. Be itthereforefurtherenactedby the authorityaforesaid,That regi- Offenders
      mental courts martial shall and may take cognizance of, try and deter- aans
       mine, all such offenders as have been guilty of any offences against the tried.
       before mentioned acts : Provided, that no sentence of such court shall
       extend to corporal punishment of every kind whatsoever except imprison-
       ment, and provided also, that no such court shall proceed to any such
       trial, but by and with the consent of the commander in chief, or a general
       officer of this State.
          XLI. That proceedings or trials at courts martial, may be carried on Proceed-
       at any time or times, the seventh article of the fourteenth section of iourts
       the said articles of war, whereby such proceedings or trials are pro- whe, maX
       hibited from being carried on, except between the hours of eight in the oi.
       morning, and three in the afternoon, to the contrary notwithstanding.
Case 1:22-cv-00986-GTS-CFH Document 49-35 Filed 10/13/22 Page 12 of 12




           248                                   LAWS OF NEW YORK.                        [CHJAP. 56.

           Articles of      XLII. That the commanding officers of the several companies, shall
           war to be
           read.         cause the said articles of war, to be read and published at least twice in
                         every year, at the head of their respective companies.
                            XLIII. And be it further enacted by the authority aforesaid, That this
                         act shall continue and be in force from the third day of April next,
                         until the first day of March, one thousand seven hundred and eighty
                         two, and no longer,



                                                   CHAP. 56.
                         AN ACT for the more speedy trial of felonies without benefit
                          of clergy for subjecting the accessaries to such felonies, to a
                          like punishment, with the principals, and for the trials of such
                          accessaries, although the principals may not be convicted.
                                                                   PASSED thc 11th of March, 1780.

           Preamble.         VHEREAS murders, burglaries, thefts and robberies have been of
                         late so frequently committed within the State, that the public peace and
                         safety require the most speedy and effectual mode of punishing, and
                         preventing the same in future.
           Commls-          Be it therefore euacted ly the People of the State of New York, rep-
           cors fresented         in Senate and Assembly, and it is hereby enacted b' the authorityof
           named to /he same, That commissions of oyer and terminer and general gaol
           out,          delivery, shall, as soon as conveniently may be, after the passing of this
                         act, be made out, if the same are not already made out, for the counties
                         of Albany, Ulster, Westchester, Dutchess, Orange, Tryon and Charlotte
                         respectively, to continue and be in force respectively, for one year from
                         the respective dates thereof, which commissions shall be lodged with
                         the clerk of the courts of oyer and terminer and general gaol delivery.
           Precepts         And be it further enacted by the authority aforesaid, That whenever
           to be
           issued for and as often as any person or persons, shall be apprehended and in
           summon- actual custody, charged with any of the offences aforesaid, heretofore
           lg grand
           juries, etc. committed or that may hereafter be committed, it shall and may be
                        lawfull, and it is hereby declared to be the ditty of each and every of the
                        judges of the supreme court of judicature of this State, on report being
                        made to him or them in writing by the several sherifs of the said
                        counties, that any person or persons for the offences aforesaid are in
                        actual custody, immediately to issue a precept in his or their name or
                        names and under his or their hand or hands and seal or seals and as
                        near as may be agreable to the form of precept issued by the justices
                        of the courts of oyer and terminer and general gaol delivery in this
                        State, to such sheriff, for summoning a grand and petit jury for, and pro-
                        claiming, a court of oyer and terminer and general goal delivery, at such
                        tine and place in the said county as the said judge or judges shall
                        appoint, which precept is hereby declared to be good legall and
                        effectual to all intents and purposes whatsoever, although there may not
                        be fifteen days between the test and return thereof, and such sherif is
                        hereby required and commanded immediately to proceed to the execu-
                        tion thereof without any delay, And that all summonses, services,
                        notices and other duties commanded by the said precept to be done
                        and performed by the said sheriff are hereby declared to be legally and
                        well and effectually done and performed, if done and performed on or
                        before the day preceding the day appointed for the holding the said
